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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,
                                                   Crim. No. 12-118(7) (JRT/LIB)
                                 Plaintiff,

 v.                                           MEMORANDUM OPINION AND ORDER
                                                  GRANTING MOTION FOR
 CHRISTOPHER LEE WESSELS,                        COMPASSIONATE RELEASE

                               Defendant.


      Andrew S. Dunne, Craig R. Baune, James S. Alexander & Katharine T.
      Buzicky, UNITED STATES ATTORNEYS’ OFFICE, 300 South Fourth Street,
      Suite 600, Minneapolis, MN 55415, for plaintiff.

      Christopher Lee Wessels, Reg. No. 16523-041, Oxford Federal Correctional
      Institution, P.O. Box 1000, Oxford, WI 53952, pro se defendant.


      Defendant Christopher Lee Wessels is serving a 156-month sentence after being

found guilty of conspiracy to distribute methamphetamine. Wessels moves the Court to

reduce his sentencer pursuant to 18 U.S.C. § 3582(c)(1)(A). Because extraordinary and

compelling reasons warrant reduction of his sentence, and such a reduction is consistent

with the 18 U.S.C. § 3553(a) sentencing factors and applicable policy statements, the

Court will grant Wessels’s Motion for Compassionate Release.

                                    BACKGROUND

      On September 9, 2014, the Court sentenced Wessels to a term of 156 months in

prison followed by a term of 5 years of supervised release for violations of 21 U.S.C.
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§§ 841(a)(1), 841(b)(1)(A), and 846 for Conspiracy to Distribute Methamphetamine.

(Sentencing J., Sept. 17, 2014, Docket No. 526.) Wessels is currently incarcerated at

Oxford Federal Correctional Institution and is scheduled to be released from custody on

August     23,    2025.          Inmate     Locator,    Fed.     Bureau     of    Prisons,

https://www.bop.gov/inmateloc (last visited Nov. 22, 2021). Wessels would be eligible

for up to a one-year reduction in his sentence for successful completion of the Residential

Drug Treatment Program. See 18 U.S.C. § 3621(e)(2)(b). Without accounting for any good

time credits, Wessels has served approximately 86 months, or 55%, of his sentence.

       Wessels has two children that currently reside with Wessels’s parents who have

legal custody of them. (Mot. Comp. Release, Ex. 1, June 7, 2021, Docket No. 760-1.)

Wessels’s parents are in their late 70s and have disclosed that they have multiple health

issues. (Mot. Comp. Release at 2, June 7, 2021, Docket No. 760; Comp. Release

Investigation, July 26, 2021, Docket No. 763.) Wessels’s father has been subject to

multiple joint and spinal surgeries and Wessels’s mother recently sustained a serious fall

requiring spinal surgery and is currently recovering in a local nursing home. (Comp.

Release Investigation at 2–3.)

                                       DISCUSSION

      The First Step Act, passed in December 2018, amended the procedure for

compassionate release. See First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194,

5239 (codified at 18 U.S.C. § 3582(c)(1)(A)). The law now allows defendants, in addition


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to the Bureau of Prisons (“BOP”), to move for compassionate release after a defendant

has fully exhausted all administrative rights to appeal a failure of the BOP to bring a

motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a

request, whichever is earlier. 18 U.S.C. § 3582(c)(1)(A). If, as relevant here, the 30 days

have lapsed, the Court may modify a defendant’s sentence after considering the “factors

set forth in section 3553(a),” if it finds that “extraordinary and compelling reasons

warrant such a reduction” and that “such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” Id. Extraordinary and compelling

circumstances exist if there has been “death or incapacitation of the caregiver of the

defendant’s minor child or minor children.” U.S.S.G. § 1B1.13, cmt n.1(C)(i).

       Incapacitation, as defined by the BOP, occurs when the “family member caregiver

suffered a severe injury (e.g., auto accident) or suffers from severe illness (e.g., cancer)

that renders the caregiver incapable of caring for the child.” Fed. Bureau of Prisons,

Program Statement 5050.50 at 7 (2019). 1 Based on this definition, Wessels’s parents are

incapacitated. His mother is clearly incapacitated as she recently suffered a serious injury

and had to undergo surgery which she is currently recovering from in a nursing home.

Wessels’s father has been subject to multiple joint replacement and spinal surgeries

indicating he also falls under the definition of incapacitated because these injuries have



       1 The Program Statement is accessible at https://www.bop.gov/policy/progstat/
5050_050_EN.pdf; see also Reno v. Koray, 515 U.S. 50, 61 (1995) (holding that BOP program
statements are entitled to some deference).
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made rendering care to Wessels’s children incredibly difficult. Wessels has demonstrated

that he is the only family member who is able to care for the child. The children’s mother

continues to struggle with recovery and addiction issues and Wessels has represented

that there are no other family members able to take care of the children. Since Wessels

has established his parents, the primary caregivers of his two children, fall under the

definition of incapacitated and he is the only family member able to care for the children,

extraordinary and compelling circumstances exist.

       When determining whether to reduce a defendant’s sentence, the Court considers

such factors as whether release would pose a danger to the safety of any person or the

community, defendant’s criminal and personal history, the nature of the offense, the

length of the sentence and time served, disciplinary infractions, and the inmate’s release

plan. See 18 U.S.C. § 3553(a) (factors considered at sentencing); U.S.S.G. § 1B1.13; Fed.

Bureau of Prisons, Program Statement 5050.50 at 12 (2019) (providing a nonexclusive list

of factors).

       If released, Wessels is unlikely to pose a danger to the safety of any person or the

community. Wessels was convicted of a non-violent drug crime that stemmed from his

significant addiction issues. Wessels has been sober for almost ten years, a noteworthy

achievement, and has shown that he will have the support he needs to maintain his

sobriety once released. Wessels has an extensive criminal history but much of it flows

from his serious addiction issues and none of it involved violent crimes. Wessels also has


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an approved release plan which includes residing with his parents who will financially

support him, attending weekly N/A meetings, and employment with a job that has already

been offered to Wessels. (Mot. Comp. Release, Ex. 2, June 7, 2021, Docket No. 760-2.)

      When accounting for good time, Wessels has served well over half of his prison

sentence, a little over seven years. During this period of imprisonment Wessels has only

had two minor rule infractions. (Pro Se Ex., July 14, 2021, Docket No. 762.) Not only has

Wessels avoided any major disciplinary action, but he has also completed a significant

number of educational and vocational programs, including the residential drug treatment

program. (Mot. Comp. Release, Ex. 3, June 7, 2021, Docket No. 760-3.) Wessels also

exhibited his ability to comply with supervised release during his pretrial release where

he abstained from substance use, maintained stable full-time employment, and positively

contributed to the upbringing of his children. (Defs’ Sentencing Memo., Sept., 3, 2014,

Docket No. 518.) As such, the Court finds that reducing Wessels’s sentence to time served

would not minimize the severity of the offense, fail to provide adequate deterrence, or

pose a danger to any person or the community. Cf. 18 U.S.C. § 3553(a)(1)(A)–(C).

      In sum, the Court concludes that time served, together with the 5-year term of

supervised release originally imposed, add up to a sentence sufficient, but not greater

than necessary, to provide just punishment for Wessels’ crime. The Court will therefore

modify his sentence accordingly.




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                                         ORDER

     Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

     1. Wessels’ Motion for Compassionate Release [Docket No. 760] is GRANTED.

     2. The Court modifies Wessels’ sentence as follows:

        a. The remainder of Wessels’ term of imprisonment is reduced to time
           served.

        b. The United States shall serve a copy of this order on the warden at
           FCI Oxford immediately.

        c. This order is stayed for up to 7 days to make appropriate travel
           arrangements, and to ensure the defendant’s safe release. The
           defendant shall be released as soon as appropriate travel
           arrangements are made, and it is safe for the defendant to travel.
           There shall be no delay in ensuring travel arrangements are made. If
           more than 7 days are needed to make the appropriate travel
           arrangements and ensure the defendant’s safe release, the parties
           shall immediately notify the Court and show cause why the stay
           should be extended;

        d. Wessels shall serve the 5-year term of supervised release imposed in
           the original sentence, and the Probation Office shall begin
           supervision immediately. Wessels shall comply with all conditions of
           his supervised release imposed in the original sentence.


     DATED: November 24, 2021                    __                     __
     at Minneapolis, Minnesota.                     JOHN R. TUNHEIM
                                                        Chief Judge
                                                United States District Court




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